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    SEP 0 6 2023                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

                        R
                        I BELL
     Plaintiff,                                                Civil Action No.:


      V.
                                                                AMENDED COMPLAINT
     Eric L. Adams, Mayor,
     Edward A. Caban, New York City
     Police Commissioner,                                      JURY TRIAL DEMANDED
     New York City Police Department,
     Raymond V. Persaud Badge#3771
     Police Officer Anthony Patti Badge#106,
                          Defendants



                                    NATURE OF THE COMPLAINT

     1.This action is for declaratory judgment, permanent injunctive relief, damages,costs, and
     attorneys fees, alleging deprivation of rights by a state or local official in violation of 42
     U.S.C.§ 1983, 4^^ amendment of the U.S Constitution, Equal Protection clause of the U.S.
     Constitution, 21 U.S.C§ 802(16](B)[i), and 18 U.S.§ 1951.

     2. On December 20,2018,congress enacted the 2018 Farm Bill, Pub. L. No. 115-334.
     3. The newly enacted law decriminalized Hemp and allowed for the production and sale
     of Hemp within the United States of America.

     4. On December 16,2021, Plaintiff filed Articles of Organization for his Canabinoid hemp

     retail business "Bugzy's Bud spot LLC".

      5. In May 2022,Plaintiff, received his Canabinoid Hemp Retail license from the New
      York State Office of Cannabis Management and began to sell canabinoid Hemp and other

      Hemp related products.

      6. On August 20, 2022,at approximately Linden Boulevard and 165^^ in Jamaica Queens,
      without a warrant,Police officer Anthony Patti, Badge #106, Sergeant Raymond Persaud,
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